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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION;
 JOHN DOE 1;
 JOHN DOE 2;                                          Civil Case No. 25-328
 JOHN DOE 3;
 JOHN DOE 4;
 JANE DOE 1;
 JANE DOE 2; and
 JANE DOE 3.
                        Plaintiffs,

                        v.
 U.S. DEPARTMENT OF JUSTICE and
 THE UNITED STATES OF AMERICA,
                        Defendants.

            CONSENTED-TO PLAINTIFFS’ MOTION FOR ADMISSION OF
               ATTORNEY MARGARET DONOVAN PRO HAC VICE

   NOW COMES the Plaintiffs, by and through their undersigned local counsel and pursuant to

Local Rule 83.2(e), to move for the admission and appearance of attorneys Margaret Donovan

pro hac vice in the above-captioned case.

   This Motion is supported by the Declaration of Mark S. Zaid, Esq., attached as Exhibit “1”,

and the Declaration of Margaret Donovan, Esq., and her current Certificate of Good Standing

attached as Exhibit “2”.

   As Ms. Donovan’s Declaration notes she is admitted and is an active member in good

standing in the United States District Court for the District of Connecticut, the United States

District Court for Kentucky, and the Bars of Connecticut, New York and New Jersey.
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   Counsel for the Defendants were advised of this Motion and have indicated they consent.

The granting of this Motion will not delay or impact any other currently scheduled matters in this

proceeding. A proposed Order is attached.

Date: February 4, 2025
                                                    Respectfully submitted,

                                                     s/Mark S. Zaid

                                                     Mark S. Zaid, Esq.
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